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                                                                                                   United States District Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                                                                                                        June 21, 2021
                                UNITED STATES DISTRICT COURT
                                                                                                     Nathan Ochsner, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

UNITED STATES OF AMERICA,              §
                                       §
      Plaintiff,                       §
                                       §
VS.                                    §
                                       §
43.412 ACRES OF LAND, more or less, in § CIVIL ACTION NO. 7:20-cv-00239
HIDALGO COUNTY, TEXAS; HIDALGO §
COUNTY IRRIGATION DISTRICT             §
NO. 2; CITY OF PHARR, TEXAS; and       §
UNKNOWN LANDOWNERS,                    §
                                       §
      Defendants.                      §

                                        PROTECTIVE ORDER

         The Court now considers the parties’ “Joint Motion for Entry of Stipulated Protective

Order.”1 In a motion that is now familiar to the Court,2 the parties seek to enter a protective order

regarding “sensitive” border infrastructure details, such as information “regarding constructing,

installing, operating, and maintaining roads, fencing, vehicle barriers, security lighting, cameras,

sensors, and related structures” that the parties argue could compromise national security if not

barred from unrestricted disclosure.3 Defendants seek this information in order to meet their

burden of proof to establish the value of the land to be condemned.4




1
  Dkt. No. 35.
2
  See United States v. 4.620 Acres of Land, more or less, in Hidalgo Cnty., No. 7:20-cv-154, Dkt. No. 38 (S.D. Tex.
Feb. 12, 2021) (Alvarez, J.); United States v. 7.731 Acres of Land, more or less, in Starr Cnty., No. 7:20-cv-250,
Dkt. No. 26 (S.D. Tex. Apr. 12, 2021) (Alvarez, J.).
3
  Dkt. No. 35 at 4, ¶ 11.
4
  Id. & n.17 (citing United States v. 30.00 Acres of Land, No. 7:19-cv-254, 2020 WL 1854189, at *2 (S.D. Tex. Apr.
13, 2020) (Alvarez, J.)).


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         “The district court may, for good cause, issue a protective order to ‘protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense,’”5 and in

particular the Court may require that “confidential research, development, or commercial

information not be revealed or be revealed only in a specified way.”6 However, “[t]he federal

courts have superimposed a somewhat demanding balancing of interests approach to the Rule.”7

The good cause standard and the balancing of interests approach calls for more than a mere

request; “[t]he movant bears the burden of showing that a protective order is necessary, ‘which

contemplates a particular and specific demonstration of fact as distinguished from stereotyped

and conclusory statements.’”8 Entering a protective order absent a particularized demonstration

of good cause may constitute an abuse of discretion.9 Nevertheless, the protective order standard

is more lenient than sealing judicial records.10

         The Court finds good cause in the parties’ request for a protective order with respect to

border infrastructure information. Obviously, public disclosure of such information could aid

criminal circumvention and countermeasures deployed against the border security infrastructure,

or could reveal secret technical information, either of which could undermine the national

security interests of the United States. The Court accordingly GRANTS the parties’ joint motion

for a protective order11 and enters the following protective order pursuant to Federal Rule of

Civil Procedure 26(c):



1. Proceedings and Information Governed.

5
  In re LeBlanc, 559 F. App'x 389, 392 (5th Cir. 2014) (quoting FED. R. CIV. P. 26(c)(1)).
6
  FED. R. CIV. P. 26(c)(1)(G).
7
  Cazorla v. Koch Foods of Miss., L.L.C., 838 F.3d 540, 555 (5th Cir. 2016) (quotation omitted).
8
  EEOC v. BDO USA, L.L.P., 876 F.3d 690, 698 (5th Cir. 2017) (quoting In re Terra Int'l, 134 F.3d 302, 306 (5th
Cir. 1998)).
9
  See In re Terra Int'l, 134 F.3d at 306.
10
   See Le v. Exeter Fin. Corp., 990 F.3d 410, 417–18 (5th Cir. 2021).
11
   Dkt. No. 35.


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This protective order applies to any document, information, or other tangible or intangible thing

(collectively, “documents”) disclosing border infrastructure details that are furnished by a party

to any other party, as well as documents furnished by non-parties who receive subpoenas in

connection with this action, if and when the documents are designated by a party or non-party as

“Confidential Information” or “Highly Confidential Information” in accordance with the terms

of this protective order. This protective order also applies to copies, excerpts, abstracts, analyses,

summaries, descriptions, or other forms of recorded information or data containing, reflecting, or

disclosing all or parts of designated documents.

2. Designation and Maintenance of Documents and Information.

   A. The “Confidential Information” designation means that the document contains

   information not publicly known and deemed by the producing party to require limited

   disclosure to protect financial or security interests.

   B. The “Highly Confidential Information” designation means that the document contains

   information that the producing party deems especially sensitive, which may include, but is

   not limited to, law enforcement sensitive information, technical information, and any other

   highly sensitive information, the confidentiality of which is necessary to protect the national

   security interests of the United States.

   C. “Confidential Information” and “Highly Confidential Information” does not include, and

   this protective order does not apply to, documents already in the knowledge or possession of

   the party to whom disclosure is made unless that party is already bound by an agreement not

   to disclose such information, or information that has been disclosed to the public or third

   persons in a manner making such information no longer confidential.

3. Documents Produced in Discovery and Depositions.




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   A. Documents and things produced during the course of this litigation within the scope of

   paragraph 2.A above may be designated by the producing party as containing “Confidential

   Information” by placing on each page and each thing a legend substantially as follows:

          “CONFIDENTIAL INFORMATION - SUBJECT TO PROTECTIVE ORDER”

   Documents and things produced during the course of this litigation within the scope of

   paragraph 2.B above may be designated by the producing party as containing “Highly

   Confidential Information” by placing on each page and each thing a legend substantially as

   follows:

   “HIGHLY CONFIDENTIAL INFORMATION - SUBJECT TO PROTECTIVE ORDER”

   B. Depositions

         (i) For deposition testimony or exhibits to be entitled to protection under this order, a

         party must designate the testimony and exhibits disclosed at a deposition as “Confidential

         Information” or “Highly Confidential Information” by requesting the reporter to so

         designate the transcript or any portion of the transcript at the time of the deposition.

         (ii) If no such designation is made at the time of the deposition, any party has 14 days

         after delivery by the court reporter of the transcript of the deposition testimony to

         designate, in writing to the other parties and to the court reporter, what portions of the

         transcript and which exhibits the party designates as “Confidential Information” or

         “Highly Confidential Information.”

         (iii) During the transcription and following 14 day period after a deposition session, the

         transcript and exhibits must be treated as Highly Confidential Information, unless the

         disclosing party consents to less confidential treatment of the information.




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         (iv) Each party and the court reporter must attach a copy of any final and timely written

         designation notice to the transcript and each copy of the transcript in its possession,

         custody or control, and the portions designated in such notice must thereafter be treated

         in accordance with this protective order. It is the responsibility of counsel for each party

         to maintain materials containing Confidential Information or Highly Confidential

         Information in a secure manner and appropriately identified so as to allow access to such

         information only to such persons and under such terms as is permitted under this

         protective order.

         (v) If no such designation is made at the deposition or within the 14-day period following

         delivery of the transcript, then the entire deposition and transcript will be considered

         devoid of Confidential Information or Highly Confidential Information.

4. Inadvertent Failure to Designate.

   A. The inadvertent failure to designate documents as “Confidential Information” or “Highly

   Confidential Information” will not be a waiver of a claim that the document contains

   confidential information, and will not prevent the producing party from designating such

   information as confidential at a later date in writing, so long as the designation is done with

   particularity.

   B. In the event a producing party late designates a document as “Confidential Information”

   or “Highly Confidential Information,” the document must be treated by the receiving party as

   confidential from the time of receipt of the notice of the “Confidential Information” or

   “Highly Confidential Information” designation.

5. Challenges to Designations.




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A party shall not be obligated to challenge the propriety of a designation of Confidential

Information or Highly Confidential Information at the time such designation is made, and a

failure to do so shall not preclude a subsequent challenge to the designation. In the event that any

party to this litigation disagrees at any stage of these proceedings with the designation of any

information as Confidential Information or Highly Confidential Information, the parties shall

first try to resolve the dispute in good faith on an informal basis, such as by production of

redacted copies. If the dispute cannot be resolved, the objecting party may invoke this protective

order by objecting in writing to the party who designated the document or information as

Confidential Information or Highly Confidential Information. The designating party shall then

have 14 days to move the court for an order preserving the designation status of the disputed

information, and if the designating party does so within 14 days, the disputed information shall

remain Confidential Information or Highly Confidential Information unless and until the Court

orders otherwise. Failure to timely move the Court to maintain the designation status of the

disputed information shall result in a termination of the status of such item or information as

Confidential Information or Highly Confidential Information.

6. Disclosure and Use of Confidential Information.

   A. Information designated as “Confidential Information” or “Highly Confidential

   Information” may only be used for purposes of preparation, trial, and appeal of this action.

   “Confidential Information” or “Highly Confidential Information” may not be used under any

   circumstances for any purpose other than preparation related to this eminent domain

   proceeding.

   B. “Confidential Information” may be disclosed by the receiving party only to the following

   individuals, provided that such individuals are informed of the terms of this protective order:




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   (a) persons who are parties to this lawsuit or representatives of an entity or entities who are

   parties to this lawsuit; (b) counsel of record for the receiving party; (c) supporting personnel

   employed by counsel for the receiving party, such as paralegals, legal secretaries, and legal

   clerks; (d) subject to the provisions of paragraph 6.D, experts or consultants; and (e) subject

   to the provisions of paragraph 6.D, any persons requested by counsel to furnish services such

   as photocopying services, document coding, image scanning, mock trial, jury profiling,

   translation services, court reporting services, demonstrative exhibit preparation, or the

   creation of any computer database from documents.

   C. “Highly Confidential Information” shall be subject to all of the protections afforded to

   “Confidential Information,” in addition to the following protections:

         (i) Any “Highly Confidential Information” produced in discovery shall be made available

         for inspection, in a format allowing it to be reasonably reviewed and searched, during

         normal business hours or at other mutually agreeable times, at an office of the producing

         party or another mutually agreed upon location. If in digital format, the “Highly

         Confidential Information” shall be made available for inspection on a secured computer

         in a secured room without Internet access or network access to other computers, and the

         receiving party shall not copy, remove, or otherwise transfer any portion of the “Highly

         Confidential Information” onto any recordable media or recordable device. The

         producing party may visually monitor the activities of the receiving party’s

         representatives during any review, but only to ensure that there is no unauthorized

         recording, copying, or transmission of the “Highly Confidential Information.”

         (ii) The receiving party may request paper copies of limited portions of “Highly

         Confidential Information” that are reasonably necessary for the preparation of court




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         filings, pleadings, expert reports, or other papers, or for deposition or trial, but shall not

         request paper copies for the purposes of reviewing the “Highly Confidential Information”

         other than as set forth above. The producing party shall provide all such “Highly

         Confidential Information” in paper form including bates numbers and the label “Highly

         Confidential Information.” The producing party may challenge the amount of “Highly

         Confidential Information” requested in hard copy form pursuant to the dispute resolution

         procedure and timeframes set forth in paragraph 5 above, whereby the receiving party

         may seek resolution by the Court as the amount and reasonableness of any paper copies

         sought.

         (iii) The receiving party shall maintain a record of any individual who has inspected any

         portion of the “Highly Confidential Information” in electronic or paper form. The

         receiving party shall maintain all paper copies of any printed portions of the “Highly

         Confidential Information” in a secured, locked area. The receiving party shall not create

         any electronic or other images of the paper copies and shall not convert any of the

         information contained in the paper copies into any electronic format. The receiving party

         shall only make additional paper copies if such additional copies are (1) necessary to

         prepare court filings, pleadings, or other papers (including a testifying expert’s report),

         (2) necessary for deposition, or (3) otherwise necessary for the preparation of its case.

         Any paper copies used during a deposition shall be retrieved by the producing party at the

         end of each day and must not be given to or left with a court reporter or any other

         unauthorized individual.

   D. Further, prior to disclosing “Confidential Information” or “Highly Confidential

   Information” to a receiving party's proposed expert or consultant, the receiving party must




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     provide to the producing party a signed Confidentiality Agreement in the form provided by

     the parties.12 The receiving party shall maintain a log which documents every individual,

     outside receiving party’s attorneys and their professional staff that has viewed documents and

     records turned over through this lawsuit. The receiving party’s log shall be available for

     presentation to the Court upon the Court’s request or upon the request of the party disclosing

     “Confidential Information” or “Highly Confidential Information.”

7. Non-Party Information.

The existence of this protective order must be disclosed to any person producing documents,

tangible things, or testimony in this action who may reasonably be expected to desire

confidential treatment for such documents, tangible things, or testimony. Any such person may

designate documents, tangible things, or testimony confidential pursuant to this protective order.

8. Filing Documents with the Court.

Any party may submit Confidential Information to the court by designating the document

“Highly Sensitive Document” in accordance with this Court’s General Order 2021-313 and hand-

delivering the document for filing by the Clerk’s Office. Such Highly Sensitive Document shall

not be filed electronically.

9. No Prejudice.

Producing or receiving “Confidential Information” or “Highly Confidential Information,” or

otherwise complying with the terms of this protective order, will not: (a) prejudice the rights of

the receiving party to object to the producing party’s designation of any information as

“Confidential Information” or “Highly Confidential Information” under the terms of this

protective order; (b) prejudice the rights of a party to object to the production of information or

12
 Dkt. No. 35-1 at 7–9 (exhibit A for expert consultants and employees and exhibit B for vendors).
13
 In Re: Procedures for the Filing, Service, and Management of Highly Sensitive Documents (“HSDs”), Gen. Order
No. 2021-3 (S.D. Tex. Jan. 19, 2021), https://www.txs.uscourts.gov/file/5820/download?token=KYfgTxjN.


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material that the party does not consider to be within the scope of discovery; (c) prejudice the

rights of a party to seek a determination by the Court that particular materials be produced; (d)

prejudice the rights of a party to apply to the Court for further protective orders; or (e) prevent

the parties from agreeing in writing to alter or waive the provisions or protections provided for in

this protective order with respect to any particular information or material.

10. Conclusion of Litigation.

Within 60 days after final judgment in this action, including the exhaustion of all appeals, or

within sixty 60 days after dismissal pursuant to a settlement agreement, following a written

request from the opposing party, each party or other person subject to the terms of this protective

order has a duty to destroy or return to the producing party all materials and documents

containing “Confidential Information” or “Highly Confidential Information,” and to certify to the

producing party that this destruction or return has been done.

11. Other Proceedings.

By entering this protective order and limiting the disclosure of information in this case, the Court

does not intend to preclude another court from finding that information may be relevant and

subject to disclosure in another case. Any person or party subject to this protective order who

may be subject to a motion to disclose another party's information designated “Confidential” or

“Highly Confidential” pursuant to this protective order must promptly notify that party of the

motion so that the party may have an opportunity to appear and be heard on whether that

information should be disclosed in the other case.

12. Remedies.

This protective order is subject to Federal Rule of Civil Procedure 37 and any other sanctions

and powers available to the Court.




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13. Relief from Protective Order.

Any party may petition the Court for good cause shown if the party desires relief from a term or

condition of this protective order.

          IT IS SO ORDERED.

          DONE at McAllen, Texas, this 18th day of June 2021.


                                                ___________________________________
                                                             Micaela Alvarez
                                                        United States District Judge




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